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   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
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  11    AUBREY J. DEMMINGS,                     Case No. 2:19-cv-00945-RGK (MAA)
  12
                          Plaintiff,            JUDGMENT
  13          v.
  14
        CDCR et al.,
  15
  16                      Defendants.

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  18         Pursuant to the Order of Dismissal filed herewith,
  19         IT IS ADJUDGED that the above-captioned case is dismissed without
  20   prejudice.
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  22   DATED: January 12, 2021
  23                                                   R. GARY KLAUSNER
                                                UNITED STATES DISTRICT JUDGE
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